      Case: 1:13-cv-02550-PAG Doc #: 1-4 Filed: 11/18/13 1 of 2. PageID #: 33
                  Claims Chart Comparison between U.S. Des. 562,253
                                          and
                           Design Sold by Arjan Impex (India)
    (V # 1007765) (Item # BGHBR-130) (Peerless Pet premium bowl with rubber base)

               Des. 565,253
                                                    Accused Infringing Product
Perspective view of a pet feeder with non-
skid lower surface




Front elevational view
     Case: 1:13-cv-02550-PAG Doc #: 1-4 Filed: 11/18/13 2 of 2. PageID #: 34
                  Claims Chart Comparison between U.S. Des. 562,253
                                          and
                           Design Sold by Arjan Impex (India)
    (V # 1007765) (Item # BGHBR-130) (Peerless Pet premium bowl with rubber base)




                Des. 565,253                        Accused Infringing Product


Top Plan View




Bottom Plan View
